Case 8:20-mc-00127 Document 1-21 Filed 12/21/20 Page 1 of 73 Page ID #:198
  REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL




                     Exhibit S
Case 8:20-mc-00127 Document 1-21 Filed 12/21/20 Page 2 of 73 Page ID #:199
 Case 8:20-mc-00127 Document 1-21 Filed 12/21/20 Page 3 of 73 Page ID #:200
   REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL
Jeffrey R. Bragalone, Jonathan H. Rastegar, Jerry D. Tice, and Hunter S. Palmer
November 16
Page 2

(“​CCE v. HMD Global​”). We will file, with the same redactions as in ​CCE v. HMD Global​, briefing on
the motion to dismiss in that action (docket nos. 36, 47, 49, and 58). Since you have previously instructed
us to file
                entirely under seal, we will do so again here unless you tell us otherwise.

Other than these materials, if there is anything that will appear in our stipulation or accompanying
materials (including of course the stipulation itself) over which you claim confidentiality and request
redaction, please provide your requested redactions as soon as possible, but no later than your responsive
portions of the joint stipulation under Loc. R. 37-2. We will file those redacted versions and the
Application For Leave to File Under Seal under Local Rule 79-5.2.2. Since none of the sealed
information is confidential to HMD Global, you must file the appropriate declaration in support of sealing
under Local Rule 79-5.2.2(b)(i).

Finally, as we discussed in separate letters, we will take your proposal of earlier today to our client this
evening, and expect to get back to you tomorrow after we have been able to communicate with them. If
that proposal results in an agreement, that agreement will presumably include withdrawal of this joint
stipulation. We did not want those discussions to delay our motion any further, however, and will
therefore proceed with them during the week provided by the Local Rules.

Thank you for your continued time and courtesy in this matter.

Very Truly Yours,


Jennifer A. Kash
  Case 8:20-mc-00127 Document 1-21 Filed 12/21/20 Page 4 of 73 Page ID #:201
    REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL


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                     UNITED STATES DISTRICT COURT
                FOR THE CENTRAL DISTRICT OF CALIFORNIA

                                   )           Case No. [TBD]
HMD GLOBAL OY,                     )
                                   )           JOINT STIPULATION
   Movant,                          )          REGARDING MOTION BY HMD
                                   )           GLOBAL OY TO COMPEL
v.                                 )           PRODUCTION OF DOCUMENTS
                                   )           FROM ACACIA RESEARCH
 ACACIA RESEARCH CORPORATION, )                CORPORATION
                                   )
   Respondent.                     )           Judge: [TBD]
                                   )           Date: [TBD]
                                   )           Time [TBD]
                                   )           Place: [TBD]
___________________________________)

      Under Federal Rule of Civil Procedure 45 and Local Rules 45 and 37 2, movant
HMD Global Oy (“HMD Global”) and respondent Acacia Research Corporation (“ARC”)
submit this Joint Stipulation Regarding Motion by HMD Global Oy to Compel Production
of Documents from Acacia Research Corporation.



            JOINT STIPULATION REGARDING MOTION TO COMPEL PRODUCTION BY ACACIA RESEARCH CORP.
Case 8:20-mc-00127 Document 1-21 Filed 12/21/20 Page 5 of 73 Page ID #:202
Case 8:20-mc-00127 Document 1-21 Filed 12/21/20 Page 6 of 73 Page ID #:203
Case 8:20-mc-00127 Document 1-21 Filed 12/21/20 Page 7 of 73 Page ID #:204
  Case 8:20-mc-00127 Document 1-21 Filed 12/21/20 Page 8 of 73 Page ID #:205
    REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL


II.   ARC’s Introductory Statement
      [ARC’s Introductory Statement]




           JOINT STIPULATION REGARDING MOTION TO COMPEL PRODUCTION BY ACACIA RESEARCH CORP.
Case 8:20-mc-00127 Document 1-21 Filed 12/21/20 Page 9 of 73 Page ID #:206
Case 8:20-mc-00127 Document 1-21 Filed 12/21/20 Page 10 of 73 Page ID #:207
Case 8:20-mc-00127 Document 1-21 Filed 12/21/20 Page 11 of 73 Page ID #:208
 Case 8:20-mc-00127 Document 1-21 Filed 12/21/20 Page 12 of 73 Page ID #:209
    REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL


documents by claiming that its side would ultimately win the underlying dispute, there
would be no discovery. Castelan-Gutierrez v. Bodega Latina Corp., Case No. 17-1877,
2018 WL 4050493, at *2 (D. Nev. Mar. 30, 2018) (“The mere fact that a party may
articulate some legal argument that may allow it to prevail on a particular claim, even
when presented in a currently pending dispositive motion, is simply insufficient to justify
denying discovery to its opponent.”).
      Indeed, the “Federal Rules of Civil Procedure do not provide for automatic or
blanket stays of discovery when a potentially dispositive motion is pending,” Infanzon v.
Allstate Ins Co , 335 F R D 305, 312 (C D Cal 2020) (quoting Tradebay, LLC v eBay,
Inc., 278 F.R.D. 597, 600 (D. Nev. 2011)), and discovery will proceed unless the “party
seeking a stay of discovery carries a heavy burden of making a ‘strong showing’ why
discovery should be denied.” Soundgarden v. UMG Recordings, Inc., Case No. 19-5449,
2019 WL 10093965, at *6 (C D Cal Dec 2, 2019) (quoting Skellerup Indus Ltd v City
of Los Angeles, 163 F.R.D. 598, 600 (C.D. Cal. 1995)); see also Las Vegas Sun, Inc. v.
Adelson, Case No. 19-1667, 2020 WL 2114352, at *5 (D. Nev. May 4, 2020) (“Generally,
there must be no question in the court's mind that the dispositive motion will prevail, and
therefore, discovery is a waste of effort ”) (quoting Kor Media Grp , LLC v Green, 294
F.R.D. 579, 583 (D. Nev. 2013)).
      Although HMD Global has asserted lack of standing through a motion to dismiss,
because standing is a “threshold jurisdictional issue,” Chouraki Decl., Ex. C at 7-8, which
even CCE acknowledges “may be raised at anytime,” id Ex B at 11, HMD Global can
present facts beyond the pleadings to support its claim, has no time limit to make this
claim, and can take discovery and use that discovery to support a renewed motion. See
Uniloc USA, Inc. v. Apple Inc., No. 18-358, Docket No. 165 (N.D. Cal. Oct. 22, 2020)
(renewing motion to dismiss for lack of standing based on new evidence obtained through
discovery); see also Blitzsafe Tex. LLC v. Mitsubishi Elec. Corp., No. 17-430, 2019 WL
2210686, at *3 (E.D. Tex. May 22, 2019) (“[J]urisdictional discovery should only be
denied where it is impossible that the discovery ‘could . . . add[] any significant facts’ that

             JOINT STIPULATION REGARDING MOTION TO COMPEL PRODUCTION BY ACACIA RESEARCH CORP.
Case 8:20-mc-00127 Document 1-21 Filed 12/21/20 Page 13 of 73 Page ID #:210
Case 8:20-mc-00127 Document 1-21 Filed 12/21/20 Page 14 of 73 Page ID #:211
Case 8:20-mc-00127 Document 1-21 Filed 12/21/20 Page 15 of 73 Page ID #:212
Case 8:20-mc-00127 Document 1-21 Filed 12/21/20 Page 16 of 73 Page ID #:213
Case 8:20-mc-00127 Document 1-21 Filed 12/21/20 Page 17 of 73 Page ID #:214
Case 8:20-mc-00127 Document 1-21 Filed 12/21/20 Page 18 of 73 Page ID #:215
Case 8:20-mc-00127 Document 1-21 Filed 12/21/20 Page 19 of 73 Page ID #:216
 Case 8:20-mc-00127 Document 1-21 Filed 12/21/20 Page 20 of 73 Page ID #:217
    REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL


regarding patent licenses, should they exist, are protected from disclosure by
attorney-client privilege and/or the work product doctrine. ARC objects to this request as
overbroad and unduly burdensome, and neither relevant nor proportional to the needs of
the case to the extent that the request seeks information not relevant to a claim or defense
asserted in this litigation ARC further objects to this request as vague, ambiguous,
overbroad, and unduly burdensome to the extent that it is unlimited in time and scope.
Specifically, this request includes the same overbroad and vague structure seen in Requests
1 and 2; ARC therefore incorporates the same objections here. Adding “communications”
about the already vague and overbroad universe of potential agreements covered by
Requests 1 and 2 to the request further broadens the scope of the request to include
communications and correspondence that may be irrelevant to the current litigation.
       Subject to and without waiving the foregoing General and Specific Objections, ARC
responds that to the extent the documents reasonably relate to the patent in suit and any
such documents exist, they have been provided to or are in the possession, custody, or
control of CCE and that, on information and belief, CCE is complying or has complied
with its discovery obligations in the Action.
       A.    HMD Global’s Position
       HMD Global’s Request No. 3 seeks communications concerning any agreement in
Request Nos. 1 or 2. In its letter of November 12, ARC takes the same position as it did
regarding Request Nos. 1 and 2, and declines to produce any documents. Chouraki Decl.,
Ex P
       The legal standard governing discovery is set forth above in Request No. 1, § A.1.
ARC’s overall objection fails for the reasons set forth above in Request No. 1, § A.2.
       Many categories of communications are directly relevant here. The negotiation
history of a contract is highly relevant to understanding its meaning 67 Wall St Co v
Franklin Nat’l Bank, 37 N.Y.2d 245, 248-49 (1975) (recognizing that the court can look to
the “surrounding facts and circumstances to determine the intent of the parties,” including
“evidence of conversations, negotiations and agreements made prior to or

             JOINT STIPULATION REGARDING MOTION TO COMPEL PRODUCTION BY ACACIA RESEARCH CORP.
Case 8:20-mc-00127 Document 1-21 Filed 12/21/20 Page 21 of 73 Page ID #:218
Case 8:20-mc-00127 Document 1-21 Filed 12/21/20 Page 22 of 73 Page ID #:219
Case 8:20-mc-00127 Document 1-21 Filed 12/21/20 Page 23 of 73 Page ID #:220
 Case 8:20-mc-00127 Document 1-21 Filed 12/21/20 Page 24 of 73 Page ID #:221
    REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL


      Subject to and without waiving the foregoing General and Specific Objections, ARC
responds that to the extent the documents reasonably relate to the patent-in-suit and any
such documents exist, they have been provided to or are in the possession, custody, or
control of CCE and that, on information and belief, CCE is complying or has complied
with its discovery obligations in the Action
      A.      HMD Global’s Position
      HMD Global’s Request No. 4 seeks documents, including communications,
concerning any negotiations leading to any agreement in Request Nos. 1 or 2. In its letter
of November 12, ARC takes the same position as it did regarding Request Nos 1, 2 and 3,
and declines to produce any documents. Chouraki Decl., Ex. P.
      The legal standard governing discovery is set forth above in Request No. 1, § A.1.
ARC’s overall objection fails for the reasons set forth above in Request No. 1, § A.2.
      The negotiation history of a contract is highly relevant to understanding its meaning
67 Wall St. Co., 37 N.Y.2d at 248-49 (1975) (recognizing that the court can look to the
“surrounding facts and circumstances to determine the intent of the parties,” including
“evidence of conversations, negotiations and agreements made prior to or
contemporaneous with the execution” in order to explain ambiguities in a written
agreement).
      ARC has not shown that producing documents responsive to this request is unduly
burdensome for the reasons set forth above in Request No. 1, § A.3.
      As demonstrated, documents and communications that are responsive to this request
concern nonprivileged matter that is relevant to HMD Global’s standing claim, and this
request is within the scope of discovery, not overly broad, unduly burdensome,
disproportionate to the needs of the case, or designed to harass ARC. HMD Global sought
to resolve these disputes through a series of letters and by meeting and conferring three
times with ARC, as set forth above in HMD Global’s Introductory Statement, § F, but
could reach no agreements. Accordingly, HMD Global respectfully submits that the Court
should order ARC to produce all documents responsive to this request.

              JOINT STIPULATION REGARDING MOTION TO COMPEL PRODUCTION BY ACACIA RESEARCH CORP.
 Case 8:20-mc-00127 Document 1-21 Filed 12/21/20 Page 25 of 73 Page ID #:222
    REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL


      B.     ARC’s Position
      [ARC’s Position]
Request for Production No. 5
      Request: All documents concerning any agreement between ARC and any other
person or persons that includes any patent license including a patent owned in whole or
part by one or more Acacia Entities.
      Response: In addition to the foregoing General Objections, ARC incorporates by
reference each of its specific objections and responses to each of the preceding requests as
if fully set forth herein ARC objects to the phrase “any patent license” to the extent that it
characterizes any agreements involving ARC as conferring a relevant patent license from
ARC to any other entity; Defendant has no factual basis for such a characterization. ARC
objects to this request to the extent that it seeks discovery of email. ARC understands that
the parties to the Action agreed to a procedure for handling email discovery It is improper
and unduly burdensome to seek to circumvent these limits by seeking email discovery
from third-party ARC. Further, this request does not comply with the requirements for an
email discovery request. ARC further objects to this request to the extent that it seeks
privileged information, documents, or communications; internal communications
regarding patent licenses, should they exist, are protected from disclosure by
attorney-client privilege and/or the work product doctrine. ARC objects to this request as
overbroad and unduly burdensome, and neither relevant nor proportional to the needs of
the case to the extent that the request seeks information not relevant to a claim or defense
asserted in this litigation. ARC further objects to this request as vague, ambiguous,
overbroad, and unduly burdensome to the extent that it is unlimited in time and scope.
Specifically, the request includes patents and agreements that are irrelevant to the current
litigation as written, the request includes any agreements made by ARC or any of its
subsidiaries including any patent licenses. There is only one patent at issue, and it is
wholly owned by CCE. This request seeks information on all other patents owned by



             JOINT STIPULATION REGARDING MOTION TO COMPEL PRODUCTION BY ACACIA RESEARCH CORP.
Case 8:20-mc-00127 Document 1-21 Filed 12/21/20 Page 26 of 73 Page ID #:223
Case 8:20-mc-00127 Document 1-21 Filed 12/21/20 Page 27 of 73 Page ID #:224
 Case 8:20-mc-00127 Document 1-21 Filed 12/21/20 Page 28 of 73 Page ID #:225
    REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL


characterizes any agreements involving ARC as conferring a relevant patent license from
ARC to any other entity; Defendant has no factual basis for such a characterization. ARC
objects to this request to the extent that it seeks discovery of email. ARC understands that
the parties to the Action agreed to a procedure for handling email discovery. It is improper
and unduly burdensome to seek to circumvent these limits by seeking email discovery
from third-party ARC. Further, this request does not comply with the requirements for an
email discovery request. ARC further objects to this request to the extent that it seeks
privileged information, documents, or communications; internal communications
regarding patent licenses, should they exist, are protected from disclosure by
attorney-client privilege and/or the work product doctrine. ARC objects to this request as
overbroad and unduly burdensome, and neither relevant nor proportional to the needs of
the case to the extent that the request seeks information not relevant to a claim or defense
asserted in this litigation ARC further objects to this request as vague, ambiguous,
overbroad, and unduly burdensome to the extent that it is unlimited in time and scope.
Specifically, this request includes the same overbroad and vague structure seen in Request
5; ARC therefore incorporates the same objections here. Further, this request includes
additional agreements other than patent licensing agreements, as long as they were
“executed concurrently.” This provides an even broader and more vague scope to the
request and makes it even more likely that agreements responsive to the request would be
irrelevant to the current patent infringement litigation.
      Subject to and without waiving the foregoing General and Specific Objections, ARC
responds that to the extent the documents reasonably relate to the patent-in-suit and any
such documents exist, they have been provided to or are in the possession, custody, or
control of CCE and that, on information and belief, CCE is complying or has complied
with its discovery obligations in the Action
      A.     HMD Global’s Position
      Similar to Request No. 2, HMD Global’s Request No. 6 seeks documents
concerning any agreement executed concurrently with any agreement described in Request

             JOINT STIPULATION REGARDING MOTION TO COMPEL PRODUCTION BY ACACIA RESEARCH CORP.
 Case 8:20-mc-00127 Document 1-21 Filed 12/21/20 Page 29 of 73 Page ID #:226
    REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL


No 5 In its letter of November 12, ARC takes the same position as it did regarding
Request No. 5, and declines to produce any documents. Chouraki Decl., Ex. P.
      The legal standard governing discovery is set forth above in Request No. 1, § A.1.
ARC’s overall objection fails for the reasons set forth above in Request No. 1, § A.2.
      The agreements in Request No 5 are relevant for the reasons set forth there; the
concurrent agreements of Request No. 6 are relevant for the same reasons as the
concurrent agreements of Request No. 2.
      ARC has not shown that producing documents responsive to this request is unduly
burdensome for the reasons set forth above in Request No 1, § A 3
      As demonstrated, documents that are responsive to this request concern
nonprivileged matter that is relevant to HMD Global’s standing claim, and this request is
within the scope of discovery, not overly broad, unduly burdensome, disproportionate to
the needs of the case, or designed to harass ARC HMD Global sought to resolve these
disputes through a series of letters and by meeting and conferring three times with ARC, as
set forth above in HMD Global’s Introductory Statement, § F, but could reach no
agreements. Accordingly, HMD Global respectfully submits that the Court should order
ARC to produce all documents responsive to this request
      B.     ARC’s Position
      [ARC’s Position]
Request for Production No. 7
      Request All documents concerning communications concerning any agreement
between ARC and any other person or persons that includes any patent license including a
patent owned in whole or part by one or more Acacia Entities.
      Response: In addition to the foregoing General Objections, ARC incorporates by
reference each of its specific objections and responses to each of the preceding requests as
if fully set forth herein. ARC objects to the phrase “any patent license” to the extent that it
characterizes any agreements involving ARC as conferring a relevant patent license from
ARC to any other entity; Defendant has no factual basis for such a characterization. ARC

             JOINT STIPULATION REGARDING MOTION TO COMPEL PRODUCTION BY ACACIA RESEARCH CORP.
  Case 8:20-mc-00127 Document 1-21 Filed 12/21/20 Page 30 of 73 Page ID #:227
     REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL


objects to this request to the extent that it seeks discovery of email ARC understands that
the parties to the Action agreed to a procedure for handling email discovery. It is improper
and unduly burdensome to seek to circumvent these limits by seeking email discovery
from third-party ARC. Further, this request does not comply with the requirements for an
email discovery request ARC further objects to this request to the extent that it seeks
privileged information, documents, or communications; internal communications
regarding patent licenses, should they exist, are protected from disclosure by
attorney-client privilege and/or the work product doctrine. ARC objects to this request as
overbroad and unduly burdensome, and neither relevant nor proportional to the needs of
the case to the extent that the request seeks information not relevant to a claim or defense
asserted in this litigation. ARC objects to this request to the extent that it seeks discovery
of email. ARC understands that the parties to the Action agreed to a procedure for
handling email discovery It is improper and unduly burdensome to seek to circumvent
these limits by seeking email discovery from third-party ARC. Further, this request does
not comply with the requirements for an email discovery request. ARC further objects to
this request as vague, ambiguous, overbroad, and unduly burdensome to the extent that it is
unlimited in time and scope Specifically, this request includes the same overbroad and
vague structure seen in Requests 5 and 6; ARC therefore incorporates the same objections
here. Adding “communications” about the already vague and overbroad universe of
potential agreements covered by Requests 5 and 6 to the request further broadens the scope
of the request to include communications and correspondence that may be irrelevant to the
current litigation.
       Subject to and without waiving the foregoing General and Specific Objections, ARC
responds that to the extent the documents reasonably relate to the patent-in-suit and any
such documents exist, they have been provided to or are in the possession, custody, or
control of CCE and that, on information and belief, CCE is complying or has complied
with its discovery obligations in the Action.



              JOINT STIPULATION REGARDING MOTION TO COMPEL PRODUCTION BY ACACIA RESEARCH CORP.
 Case 8:20-mc-00127 Document 1-21 Filed 12/21/20 Page 31 of 73 Page ID #:228
    REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL


      A.     HMD Global’s Position
      Similar to Request No. 3, HMD Global’s Request No. 7 seeks documents
concerning communications concerning any agreement described in Request No. 5. In its
letter of November 12, ARC takes the same position as it did regarding Request Nos. 5 and
6, and declines to produce any documents Chouraki Decl , Ex P
      The legal standard governing discovery is set forth above in Request No. 1, § A.1.
ARC’s overall objection fails for the reasons set forth above in Request No. 1, § A.2.
      The agreements in Request No. 5 are relevant for the reasons set forth there; the
communications of Request No 7 are relevant for the same reasons as the communications
of Request No. 3.
      ARC has not shown that producing documents responsive to this request is unduly
burdensome for the reasons set forth above in Request No. 1, § A.3.
      As demonstrated, documents and communications that are responsive to this request
concern nonprivileged matter that is relevant to HMD Global’s standing claim, and this
request is within the scope of discovery, not overly broad, unduly burdensome,
disproportionate to the needs of the case, or designed to harass ARC. HMD Global sought
to resolve these disputes through a series of letters and by meeting and conferring three
times with ARC, as set forth above in HMD Global’s Introductory Statement, § F, but
could reach no agreements. Accordingly, HMD Global respectfully submits that the Court
should order ARC to produce all documents responsive to this request.
      B.     ARC’s Position
      [ARC’s Position]
Request for Production No. 8
      Request: All documents concerning communications concerning negotiations
leading to any agreement between ARC and any other person or persons that includes any
patent license including a patent owned in whole or part by one or more Acacia Entities or
any agreement executed concurrently with any agreement between ARC and any other



             JOINT STIPULATION REGARDING MOTION TO COMPEL PRODUCTION BY ACACIA RESEARCH CORP.
Case 8:20-mc-00127 Document 1-21 Filed 12/21/20 Page 32 of 73 Page ID #:229
Case 8:20-mc-00127 Document 1-21 Filed 12/21/20 Page 33 of 73 Page ID #:230
Case 8:20-mc-00127 Document 1-21 Filed 12/21/20 Page 34 of 73 Page ID #:231
Case 8:20-mc-00127 Document 1-21 Filed 12/21/20 Page 35 of 73 Page ID #:232
Case 8:20-mc-00127 Document 1-21 Filed 12/21/20 Page 36 of 73 Page ID #:233
Case 8:20-mc-00127 Document 1-21 Filed 12/21/20 Page 37 of 73 Page ID #:234
Case 8:20-mc-00127 Document 1-21 Filed 12/21/20 Page 38 of 73 Page ID #:235
Case 8:20-mc-00127 Document 1-21 Filed 12/21/20 Page 39 of 73 Page ID #:236
Case 8:20-mc-00127 Document 1-21 Filed 12/21/20 Page 40 of 73 Page ID #:237
Case 8:20-mc-00127 Document 1-21 Filed 12/21/20 Page 41 of 73 Page ID #:238
Case 8:20-mc-00127 Document 1-21 Filed 12/21/20 Page 42 of 73 Page ID #:239
Case 8:20-mc-00127 Document 1-21 Filed 12/21/20 Page 43 of 73 Page ID #:240
Case 8:20-mc-00127 Document 1-21 Filed 12/21/20 Page 44 of 73 Page ID #:241
Case 8:20-mc-00127 Document 1-21 Filed 12/21/20 Page 45 of 73 Page ID #:242
Case 8:20-mc-00127 Document 1-21 Filed 12/21/20 Page 46 of 73 Page ID #:243
Case 8:20-mc-00127 Document 1-21 Filed 12/21/20 Page 47 of 73 Page ID #:244
Case 8:20-mc-00127 Document 1-21 Filed 12/21/20 Page 48 of 73 Page ID #:245
Case 8:20-mc-00127 Document 1-21 Filed 12/21/20 Page 49 of 73 Page ID #:246
Case 8:20-mc-00127 Document 1-21 Filed 12/21/20 Page 50 of 73 Page ID #:247
Case 8:20-mc-00127 Document 1-21 Filed 12/21/20 Page 51 of 73 Page ID #:248
Case 8:20-mc-00127 Document 1-21 Filed 12/21/20 Page 52 of 73 Page ID #:249
Case 8:20-mc-00127 Document 1-21 Filed 12/21/20 Page 53 of 73 Page ID #:250
Case 8:20-mc-00127 Document 1-21 Filed 12/21/20 Page 54 of 73 Page ID #:251
Case 8:20-mc-00127 Document 1-21 Filed 12/21/20 Page 55 of 73 Page ID #:252
Case 8:20-mc-00127 Document 1-21 Filed 12/21/20 Page 56 of 73 Page ID #:253
Case 8:20-mc-00127 Document 1-21 Filed 12/21/20 Page 57 of 73 Page ID #:254
Case 8:20-mc-00127 Document 1-21 Filed 12/21/20 Page 58 of 73 Page ID #:255
Case 8:20-mc-00127 Document 1-21 Filed 12/21/20 Page 59 of 73 Page ID #:256
Case 8:20-mc-00127 Document 1-21 Filed 12/21/20 Page 60 of 73 Page ID #:257
Case 8:20-mc-00127 Document 1-21 Filed 12/21/20 Page 61 of 73 Page ID #:258
Case 8:20-mc-00127 Document 1-21 Filed 12/21/20 Page 62 of 73 Page ID #:259
Case 8:20-mc-00127 Document 1-21 Filed 12/21/20 Page 63 of 73 Page ID #:260
Case 8:20-mc-00127 Document 1-21 Filed 12/21/20 Page 64 of 73 Page ID #:261
Case 8:20-mc-00127 Document 1-21 Filed 12/21/20 Page 65 of 73 Page ID #:262
Case 8:20-mc-00127 Document 1-21 Filed 12/21/20 Page 66 of 73 Page ID #:263
Case 8:20-mc-00127 Document 1-21 Filed 12/21/20 Page 67 of 73 Page ID #:264
Case 8:20-mc-00127 Document 1-21 Filed 12/21/20 Page 68 of 73 Page ID #:265
Case 8:20-mc-00127 Document 1-21 Filed 12/21/20 Page 69 of 73 Page ID #:266
Case 8:20-mc-00127 Document 1-21 Filed 12/21/20 Page 70 of 73 Page ID #:267
Case 8:20-mc-00127 Document 1-21 Filed 12/21/20 Page 71 of 73 Page ID #:268
Case 8:20-mc-00127 Document 1-21 Filed 12/21/20 Page 72 of 73 Page ID #:269
Case 8:20-mc-00127 Document 1-21 Filed 12/21/20 Page 73 of 73 Page ID #:270
